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In the United States Court of Federal Claims
                                  No. 04-09C
                           (Filed: August 26, 2011)

********************
PORTLAND GENERAL ELECTRIC
COMPANY, CITY OF EUGENE,
OREGON, acting by and through the
EUGENE WATER AND ELECTRIC
BOARD, and PACIFICORP,                      Government Contracts; Spent
                                            Nuclear Fuel; Nuclear Waste;
                      Plaintiffs,           Nuclear Repository; Unavoidable
                                            Delays; Avoidable Delays;
v.                                          Motion to Dismiss

THE UNITED STATES,

                      Defendant.
* * * * * * * * * * * * * * * * * * * **

       Brad Fagg, Washington, D.C., for plaintiffs. Paul M. Bessette, of
       counsel.

       Patrick B. Bryan, United States Department of Justice, Civil
Division, Washington, D.C., with whom were Tony West, Assistant
Attorney General, Jeanne E. Davidson, Director, Harold D. Lester, Jr.,
Assistant Director for defendant.

                                    _________

                                    OPINION
                                    _________

BRUGGINK, Judge.

        This is an action for partial breach of contract by plaintiffs, electrical
utilities, against the government, acting through the Department of Energy, for
failing to begin picking up spent nuclear fuel from plaintiffs’ nuclear-fueled
electric generation facilities on January 31, 1998. A number of related cases
are pending at the court. The government raises a contractual provision as its

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first affirmative defense. Plaintiffs have moved to dismiss, strike, and for
judgment on the pleadings with respect to that affirmative defense. As part of
its motion, plaintiffs request an in limine order to preclude the government
from offering evidence at trial in support of the affirmative defense.

       The matter is fully briefed. Oral argument was held on July 22, 2011,
at which time we announced our decision to grant the motion. See Portland
Gen. Elec. Co. v. United States, No. 04-09 (Fed. Cl. Jul. 22, 2011) (order
granting motion to strike). As we explain below, defendant’s affirmative
defense of unavoidable delays is proscribed as a matter of law, and we
therefore strike it. Accordingly, we also grant an in limine order prohibiting
the government from offering any evidence at trial in support of that defense.

                        FACTUAL BACKGROUND

       Plaintiffs operated the Trojan Nuclear Power Plant near Rainier, Oregon
from 1975 until its shutdown and defueling in January 1993. In 1982,
Congress enacted the Nuclear Waste Policy Act (“NWPA”), 42 U.S.C. §§
10101–10270 (2006). The NWPA codified the federal government’s
“responsibility to provide for the permanent disposal of high-level radioactive
waste and such spent nuclear fuel as may be disposed of in order to protect the
public health and safety and the environment.” Id. § 10131(a)(4). The NWPA
provided a process for storage and disposal of high level waste and spent
nuclear fuel (hereafter referred to collectively as “SNF”). The NWPA
authorized the Secretary of Energy to enter into contracts with owners and
generators of SNF to dispose of such material. Pursuant to section 302 of the
NWPA, the Standard Contract for the disposal of SNF was developed; it is
published at 10 C.F.R. § 961.11 (2011).

       On June 13, 1983, Portland General Electric Company (“PGE”), on
behalf of itself, the Eugene Water and Electric Board, and Pacific Power &
Light (a predecessor-in-interest of PacifiCorp), entered into a written contract
with defendant known as the “Contract for Disposal of Spent Nuclear Fuel
and/or High Level Radioactive Waste, U.S. Department of Energy Contract
No. DE-CR01-83NE4406.” The material terms are published at 10 C.F.R §
961.11. In this contract, plaintiffs agreed to purchase DOE’s services for
disposal of SNF produced by the Trojan facility. The contract required
defendant to begin disposing of SNF by January 31, 1998. Defendant has not
yet begun disposal of SNF.



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       Article IX of the Standard Contract, entitled “DELAYS,” contains two
clauses regarding delays. The first clause concerns unavoidable delays by the
purchaser or DOE. It reads, in its entirety:

               Neither the Government nor the Purchaser shall be liable
        under this contract for damages caused by failure to perform its
        obligations hereunder, if such failure arises out of causes beyond
        the control and without the fault or negligence of the party
        failing to perform. In the event circumstances beyond the
        reasonable control of the Purchaser or DOE–such as acts of
        God, or of the public enemy, acts of the Government in either its
        sovereign or contractual capacity, fires, floods, epidemics,
        quarantine restrictions, strikes, freight embargoes and unusually
        severe weather–cause delay in scheduled delivery, acceptance or
        transport of SNF and/or HLW, the party experiencing the delay
        will notify the other party as soon as possible after such delay is
        ascertained and the parties will readjust their schedules, as
        appropriate, to accommodate such delay.

10 C.F.R. § 961.11 (2011) (art. IX, cl. A).

       The second clause concerns avoidable delays by the purchaser or DOE
and reads, in its entirety:

                In the event of any delay in the delivery, acceptance or
        transport of SNF and/or HLW to or by DOE caused by
        circumstances within the reasonable control of either the
        Purchaser or DOE with or their respective contractors or
        suppliers, the charges and schedules specified by the contract
        will be equitably adjusted to reflect any estimated additional
        costs incurred by the party not responsible for or contributing to
        the delay.

Id. (art. IX, cl. B).

                           LEGAL BACKGROUND

      Courts have held that the NWPA created a duty on the part of the
goverment to begin disposing of SNF. In Indiana Michigan Power Company
v. Department of Energy, 88 F.3d 1272 (D.C. Cir. 1996), utility companies

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challenged DOE’s interpretation of the NWPA. The agency had taken the
position that it would be unable to accept SNF by early 1998 and that it had no
duty to do so in the absence of a functioning nuclear repository. The D.C.
Circuit disagreed and held that section 302(a)(5)(B) of the NWPA created an
obligation on the part of DOE, reciprocal to the utilities’ obligation to pay, to
start disposing of SNF by January 31, 1998. See id. at 1277.

        Despite the ruling in Indiana Michigan, DOE informed utility
companies that it would not begin to collect the SNF by the 1998 deadline.
The companies then sought a writ of mandamus to compel DOE to dispose of
the SNF. In Northern States Power Co. v. United States Department of
Energy, 128 F.3d 754, 756 (D.C. Cir. 1997) (“Northern States I”), the D.C.
Circuit reaffirmed its ruling in Indiana Michigan, noting that “[p]etitioners
have established that they have a clear right to relief.” Id. at 756 The court
refused to grant the broader mandamus relief sought by the utilities, however,
noting that the Standard Contract “provides a potentially adequate remedy if
DOE fails to fulfill its obligations by the deadline.” Id. Nevertheless, the
court held that the petitioners’ ability to enforce the contract “would be
frustrated if DOE were allowed to operate under a construction of the contract
inconsistent with [its] prior conclusion that the NWPA imposes an obligation
on DOE ‘without qualification or condition.’” Id. at 759. Consequently, the
court ordered “DOE to proceed with contractual remedies in a manner
consistent with the NWPA’s command that [DOE] undertake an unconditional
obligation to begin disposal of the SNF by January 31, 1998.” Id. at 760. The
mandamus “preclude[d] DOE from concluding that its delay [was]
unavoidable on the ground that it has not yet prepared a permanent repository
or that it has no authority to provide storage in the interim.” Id.

      The D.C. Circuit later clarified the scope of its Northern States I
mandamus in Wisconsin Electric Power Co. v. United States Department of
Energy, 211 F.3d 646 (D.C. Cir. 2000), stating that in prior cases “we
expressed no opinion about the relief the DOE would have to provide for
breach of that obligation [to dispose of SNF].” Id. at 648. The court
suggested that “[t]he Court of Federal Claims, not this court, is the proper
forum for adjudicating contract disputes.” Id.

       The focus of litigation thereafter shifted to this court and the Court of
Appeals for the Federal Circuit. In Maine Yankee Atomic Power Co. v. United
States, 225 F.3d 1336 (Fed. Cir. 2000), the Federal Circuit held that the
avoidable delays clause likewise did not apply to the government’s industry-

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wide breach. There, a utility company sought to recover costs of SNF storage
caused by the government’s failure to dispose of SNF. The government
argued that its non-performance fell under the avoidable delays clause of the
Standard Contract, Article IX.B, and that damages were limited to those
permitted under that clause. The Federal Circuit, however, rejected that
argument, construing the avoidable delays clause to refer only to those
“specified kinds of delays, namely, those ‘in the delivery, acceptance or
transport’ of nuclear waste.” Id. at 1341. Moreover, the court noted that for
that clause to be implicated, “the parties must have begun performance of their
obligations relating to disposal of the nuclear waste.” Id. at 1341. Thus, the
avoidable delays clause did not apply to the government’s broad, industry-wide
breach, and did not apply when performance had not even begun.1 Id.

        In 2010, the Federal Circuit was confronted with the issue of whether
the D.C. Circuit’s decisions in Indiana Michigan and Northern States I were
entitled to res judicata effect in the Court of Federal Claims; the court
concluded they were. Neb. Pub. Power Dist. v. United States, 590 F.3d 1357,
1376 (Fed. Cir. 2010) (“NPPD”). The Federal Circuit rejected the
government’s argument that the unavoidable delays clause excused its non-
performance. The Federal Circuit noted that, “The D.C. Circuit’s order
prohibited the government from using contract interpretation as a means of
avoiding its statutory obligation under section 302, which the D.C. Circuit was
authorized to do as a means of enforcing the statutory claim that was brought
before it in Indiana Michigan.” Id. at 1365. Nor did the D.C. Circuit’s
decision “improperly intrude on the jurisdiction of the Court of Federal Claims
to address NPPD’s breach of contract claim.” Id. Instead, the D.C. Circuit’s
mandamus was “limited to prohibiting the government from acting in
derogation of its statutory obligations under the NWPA.” Id. at 1373.

       As the Federal Circuit explained, the orders of the D.C. Circuit were an
exercise of its authority to interpret the DOE’s statutory responsibilities, and

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         In Northern States Power Co. v. United States, 224 F.3d 1361, 1367
(Fed. Cir. 2000) (“Northern States II”), the Federal Circuit stated, “the
unavoidable delays provision deals with delays arising after performance of the
contract has begun, and does not bar a suit seeking damages for the
government’s failure to begin performance at all by the statutory and
contractual deadline of January 31, 1998.” While this statement would appear
to resolve the present issue, the government plausibly contends that the use of
the term “unavoidable” was a typographical error.

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“did not address any issue of contract breach, direct the implementation of any
remedy, or construe any contract defense, except to the extent that the
proposed interpretation of the contract would conflict with the statutory
directive in section 302(a)(5).” Id. at 1376. Therefore, “except to the extent
that the D.C. Circuit’s ruling on the statutory question controls as a matter of
res judicata, it is within the authority of the Court of Federal Claims to
interpret, apply, and enforce the provisions of the Standard Contract.” Id. at
1375.

       The Court of Federal Claims has subsequently applied NPPD to
preclude the unavoidable delays clause defense in other SNF cases. See
Consol. Edison Co. v. United States, 92 Fed. Cl. 466, 475 n.2 (2010)
(indicating that the court need not address the unavoidable delays defense
because of NPPD); Entergy Nuclear Fitzpatrick v. United States, 93 Fed. Cl.
739, 746 (2010) (“Allowing the Government to use the clause to negate a
damages award would be permitting what the D.C. Circuit had already
prevented.”).

        More recently, the Federal Circuit has addressed the unavoidable delay
clause in Southern Nuclear Operating Co. v. United States, 637 F.3d 1297
(Fed. Cir. 2011). It concluded that the government had waived the defense in
that case by failing “to raise the unavoidable delays clause here and because
this failure was not compelled by the District of Columbia Circuit’s mandamus
in Northern States.” Id. 1306. The court expressly did not reach the question
of “whether the ‘unavoidable delays’ clause could provide a defense to
expectancy damages.” Id.

       Plaintiffs take the position that the effect of the decisions by the D.C.
Circuit and the Federal Circuit discussed above means that the unavoidable
delay clause is no longer available as a defense. They offer two independent
theories as to why this should be so. First, plaintiffs argue that the Federal
Circuit’s decision in NPPD held that the results in Northern States I and
Indiana Michigan are entitled to res judicata effect here. Consequently, the
government is barred from relying upon the unavoidable delays defense to
excuse its non-performance. Second, plaintiffs contend that Maine Yankee’s
holding that the industry-wide, pre-performance breach is not a delay within
the avoidable delays clause, means that it is also not a delay within the
unavoidable delays clause. Plaintiffs also contend that, irrespective of any
prior decisions, the defense is unavailable because the lack of a nuclear waste
repository was foreseeable and not beyond the control of the government.

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       Defendant makes three principal responses: First, accepting plaintiffs’
interpretation of past precedent would render the unavoidable delays clause
meaningless. Second, NPPD and Southern Nuclear establish that the
government may invoke the unavoidable delays defense to reduce any
damages. Third, neither Maine Yankee nor Northern States II apply, because
both dealt with the avoidable delays clause, rather than the unavoidable delays
clause. Finally, if the court were to entertain plaintiffs’ third argument—that
the defense fails on the merits—defendant contends that issues of fact preclude
summary judgment without further discovery.

       For the reasons set out below, we agree with plaintiffs that NPPD and
Northern States I preclude the government from using the existence or non-
existence of a repository to invoke the unavoidable delays clause, and
alternatively, that Maine Yankee’s determination that the government’s
industry-wide pre-performance breach is not an avoidable delay under Article
IX.B requires a holding that it is not an unavoidable delay under Article IX.A.
As we explained at oral argument, we decline to consider the third argument
posed by plaintiffs. It inevitably triggers questions of fact, and therefore
prompts defendant’s request for additional discovery. Both of plaintiffs’
primary arguments are meritorious and can be resolved as questions of law.

                                DISCUSSION

I.     NPPD and Northern States I Held that the Non-Existence of a
       Repository is Not an Unavoidable Delay

       NPPD prohibits the government from bringing an unavoidable delays
defense in this case because the existence or non-existence of a repository does
not affect in any way the government’s unconditional obligation to dispose of
SNF. The Northern States I mandamus order “preclude[s] DOE from
concluding that its delay is unavoidable on the ground that it has not yet
prepared a permanent repository or that it has no authority to provide storage
in the interim.” Northern States I, 128 F.3d at 760. The Federal Circuit
construed Northern States I to mean that, “based on its interpretation of the
NWPA . . . the government’s failure to have a repository ready by January 31,
1998, could not be excused as unavoidable delay.” NPPD, 590 F.3d at 1375.




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       These decisions would appear to resolve the pending motion, and
defendant indeed concedes that liability for breach is fixed.2 Yet it persists in
making the observation that plaintiffs in Indiana Michigan and Northern States
I did not bring an action for breach of contract and relies on the following
language in NPPD: “[T]he D.C. Circuit properly left all issues of contract
breach, enforcement, and remedy to be determined in the litigation before the
Court of Federal Claims.” 590 F.3d at 1365.3 These statements are true, but
irrelevant to plaintiffs’ argument. We must account for the res judicata effect
of the previous rulings, despite the fact that the D.C. Circuit’s ruling did not
decide contract issues qua contract issues. As the Federal Circuit has told us,
the D.C. Circuit rulings “could affect subsequent contract litigation.” Id. at
1371 n.7; see also id. at 1376 (“[I]t was clear that the D.C. Circuit’s remedial
order would affect later litigation over contract-based rights.”). Moreover, the
Federal Circuit gave res judicata effect to the “ban [upon] DOE from doing
under the rubric of contract interpretation what section 302(a)(5)(B) prohibited
as a matter of statutory compulsion.” Id. at 1372. Northern States I and NPPD
both held that the non-existence of a repository is not an unavoidable delay,
and because defendant’s affirmative defense justifies its invocation of
unavoidable delays by the non-existence of a repository, we are compelled to
apply that ruling here.

        We note, moreover, that in Northern States I, the court explicitly
required enforcement of the government’s statutory duty: “To effectuate
DOE’s duty, as we recognized in Indiana Michigan, petitioners must be able
to enforce the terms of the contract in a meaningful way.” 128 F.3d at 759.
The D.C. Circuit did not fully grant the writ because “the Standard Contract
between DOE and the utilities provides a potentially adequate remedy if DOE
fails to fulfill its obligations by the deadline.” Id. at 756. Northern States I
was explicit that the court “decline[d] to issue the broad writ of mandamus
because [petitioners] are presented with another potentially adequate remedy.”
Id. at 759. The right to relief stems from DOE’s “clear duty to take the SNF
from the owners and generators by the deadline imposed by Congress.” Id. at

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         “[W]e are not contesting liability at all . . . .” Def.’s Opp’n to Pls.’
Mot. to Dismiss, Strike And/Or for J. (“Def.’s Opp.”) 14-15; “[A]pplication
of the unavoidable delays clause cannot shield the Government from liability
for its delayed performance . . . .” Def.’s Opp. 16.
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        Defendant relies heavily on the concurrence in NPPD; however,
concurrences have no binding authority. See, e.g., Maryland v. Wilson, 519
U.S. 408, 413 (1997) (noting concurrences are not binding precedent).

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758-59. If the contract delays clause were applied here as defendant proposes,
plaintiffs effectively would have no remedy for breach. See Entergy Nuclear,
93 Fed. Cl. at 746 (“[A]llowing the Government to use the [unavoidable
delays] clause to negate a damages award would be permitting what the D.C.
Circuit has already prevented.”).

        Defendant also makes the more nuanced argument that, although
liability for breach is fixed, the ruling in NPPD does not preclude the
“application of the unavoidable delays clause . . . to reduce the amount of
expectancy damages to which a plaintiff is entitled.” Def.’s Opp. 16 (citing
NPPD, 590 F.3d at 1362-63, 1365, 1376-77). According to defendant, the
clause has an independent application when it comes to the determination of
damages.

       Neither in its briefing nor at oral argument could defendant explain how
the D.C. Circuit’s rulings preclude use of the unavoidable delays clause as a
defense to liability for breach, but not as a defense to damages. We view the
delays clause as an affirmative defense to liability: “[n]either the Government
nor the Purchaser shall be liable under this contract for damages . . . .” Article
IX.A Unlike the avoidable delays clause, the text of the unavoidable delays
clause thus contemplates either a complete defense to liability or no defense
at all. It either excuses what would otherwise be a breach due to non-
performance, or it does not. Here it does not. There is no further room for it
to operate.

        Defendant suggests, however, that this apparent conundrum is
explained because the clause, although not available here as a defense to
breach, can be applied to limit the type of remedy to which plaintiffs are
entitled. In other words, while plaintiffs might be entitled to restitution,4 for
example, they cannot recover expectancy damages because the government’s
non-performance was excused. We disagree. Breach occurs at a particular
moment in time. Here it is undisputed that breach occurred on January 31,
1998, when the government did not begin to pick up spent nuclear fuel. See
Me. Yankee, 225 F.3d at 1343. We are unable to hypothesize a scenario that
there is breach on that date, but no damages accrue because performance is




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        This is not much of a concession. Plaintiffs have not, and presumably
cannot, ask for restitution—a theory of liability which seeks the unwinding of
the contract, plainly not an option here.

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excused. The two concepts are mutually exclusive; if damages do not accrue,
it is because performance is excused, i.e., there is no breach.5

II.    Complete Failure to Perform is Not “Delay” Within the Meaning of
       Article IX

       Plaintiffs also make the independent argument that complete non-
performance cannot be a “delay” within the meaning of the unavoidable delays
clause, because Maine Yankee determined that it was not a delay within the
meaning of the avoidable delays clause. Defendant responds that the clauses
are not identical and the ruling in Maine Yankee is therefore not controlling.

       At issue in Maine Yankee was whether utilities asserting breach of the
Standard Agreement first had to exhaust their administrative remedies. The
court held that they did not. In the process, it had to deal also with the
government’s argument that non-performance constituted an avoidable delay
within the meaning of the avoidable delays clause: “In the event of any delay
in the delivery, acceptance or transport of SNF . . . by DOE caused by
circumstances within the reasonable control of . . . DOE . . . the charges and
schedules specified by the contract will be equitably adjusted . . . .” Art. IX.B.
The court held that total non-performance did not trigger the adjustments
contemplated in the clause:

               The provision is not a general one covering all delays, but
       a more limited one dealing with specified kinds of delays,
       namely, those “in the delivery, acceptance or transport” of
       nuclear waste. These involve particular delays involving
       individual contractors. They are the kind of delays that routinely
       may arise during the performance of the contract. For them to
       arise, however, the parties must have begun performance of their
       obligations relating to disposal of the nuclear waste.

              Yankee’s claim against the government is far broader
       than one for improper delays by the Department in performing
       its contractual obligations.     Yankee contends that the
       government breached a critical and central obligation of the

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         The ruling of the Federal Circuit in Southern Nuclear is not to the
contrary. The court made clear that it “need not reach the question posed by
the Nebraska Public Power concurrence as to whether the ‘unavoidable
delays’ clause could provide a defense to expectancy damages.” 637 F.3d at
1306.

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       contract that it begin disposal of nuclear waste by January 1,
       1998. Congress found this objective so important when it
       promulgated the Act that it took the unusual action of specifying
       that all the contracts must contain this explicit requirement. The
       breach involved all the utilities that had signed the contract—the
       entire nuclear electric industry. The language of the avoidable
       delays provision of the contract cannot properly be read to cover
       Yankee’s claim.

Me. Yankee, 225 F.3d at 1341-42.

        Article IX.A., the unavoidable delays clause, provides that neither the
government nor the utility “shall be liable under this contract for damages
caused by failure to perform its obligations hereunder, if such failure arises out
of causes beyond the control and without the fault or negligence of the party
failing to perform.” The clause then goes on to furnish a presumably non-
exhaustive list of examples: “acts of God, or of the public enemy, acts of the
Government in either its sovereign or contractual capacity,[6 ] fires, floods,
epidemics.” The failure to perform must arise “out of causes beyond the
control. . . of the party failing to perform.” Art. IX.A. Thus, whereas the
avoidable delays clause allows for equitable adjustment of the contract to
compensate for added costs, the unavoidable delays clause contemplates no
liability whatsoever.

        Both clauses are triggered by the occurrence of a delay. While
defendant is correct that the clauses apply in different circumstances, and the
holding of Maine Yankee is not directly controlling, the “delay” it seeks to
excuse in the present case is identical to the one confronting the court in Maine
Yankee, to wit, total non-performance. Consequently, the court’s conclusion
that a total failure to commence performance cannot be characterized as a
delay is highly relevant. Indeed we see no reason for a different construction
of the term as used within the same article of the contract.

      We view it as immaterial that defendant seeks to argue that “disruptions
caused by a particular third party, the state of Nevada, unavoidably delayed the
Government’s SNF removal program,” Def.’s Opp. 9. Nothing in the contract
suggests that the government’s obligation turned on the availability of a site
in Nevada.


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       The government does not assert a “sovereign acts” defense. See Def.’s
Opp. 14.

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        The court in Maine Yankee was concerned that construing non-
performance as delay would be tantamount to depriving utilities of the benefit
of their bargain: “[T]he narrow specified relief available under the excusable
delays provision would fall far short of the relief necessary adequately to
compensate Yankee for the damages it alleges it suffered from the
government’s breach of the contract.” Me. Yankee, 225 F.3d at 1342. The
same concern is even more apparent here, where the essence of the
bargain—paying the government to pick up SNF in lieu of utilities having to
store it—would vaporize if there were no consequence to the government if it
simply fails to perform. As in Maine Yankee, total non-performance cannot
be characterized as “delay.” The government’s failure to perform thus does
not constitute a delay within the meaning of Article IX.7

                               CONCLUSION

       Plaintiffs’ motion to dismiss, strike, or for judgment on the pleadings
is granted. Defendant may not introduce evidence at trial in support of the
defense.


                                           s/ Eric G. Bruggink
                                           Eric G. Bruggink
                                           Judge




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         Which is not to say that it is surplusage. Assuming the government
had commenced performance but one of the circumstances contemplated in
either Article IX.A or B applied, the defense to breach still could be asserted
or a cost adjustment made.

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